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IN THE UNITED sTATES DIsTRICT COURT Fll.ED s‘f __,1&__ D.G.
FOR THE wEsTERN DIsTRICT oF TENNESSEE `
wEsTERN DIVISION 05AUG|5 AH|]:3|
sewers-esm
CLERr§. U,S. HzMCT COURT
X ‘1\1',-€1 11 1.;:. 1,_.11;-'113?‘§4!3
LAWRENCE sAYLEs, X
X
Plaintiff, X
X
vs. x No. 05»2424-B/P
X
KENNETH MOSS, et al., x
X
Defendants. X
X

 

ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Lawrence Sayles, a resident of Oklahoma, filed
a pro §§ complaint on June 9, 2005 that purports to invoke this
Court's diversity jurisdiction and paid the civil filing fee. The
Clerk shall record the defendants as Kenneth Moss and Classic
Towing and Recovery, Inc.

It is ORDERED that the Clerk shall issue process for the
defendants and deliver said process to the plaintiff, who is

responsible for service on the defendants pursuant to Rule 4 of the

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Federal Rules of Civil Procedure.1 The plaintiff shall file proof
of service pursuant to Fed. R. Civ. P. 4(1).

It is ORDERED that the plaintiff shall serve a copy of
every further document filed in this cause on the attorney for each
defendant, or on any defendant that has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize himself with the Federal Rules of Civil
Procedure and the local rules of this Court.

The plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
requirements, or any other order of the Court, may result in this
case being dismissed without further notice.

The plaintiff is advised that the time limit set forth in
Fed. R. Civ. P. 4(m) shall commence running on the date the
summonses are mailed to him.

IT IS SO ORDERED this /2. day of August, 2005.

   

 

 
 

ANIEL BREEN \\
sD sTATEs DIsTRIcT JUDGE

 

 

1 Pursuant to Fed. R. Civ. P. 4(h)(1), a corporation may be served “by
delivering a copy of the summons and of the complaint to an officer, a managing
or general agent, or to any other agent authorized by appointment or by law to
receive service of process and, if the agent is one authorized by statute and the
statute so requires, by also mailing a copy to the defendant.”

Plaintiff also must comply with Rule 4(c)(2), which requires, in
part: “Service may be effected by any person who is not a party and who is at
least 18 years of age.”

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02424 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

LaWrence Sayles
41 5 Boudinot
Dewey, OK 74029

Honorable J. Breen
US DISTRICT COURT

